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 PROB 35                  Report and Order Terminating Probation/Supervised Release          pjLFD
(Rev. 6/17)                              Prior to Original Expiration Date           US DISTRICT COUR^
                                                                                         AUGUSTA OiV.

                                                                                    20I8HAR2O AH 9:5U
                                         United States District Court
                                                    FOR THE
                                     SOUTHERN DISTRICT OF GEORGIA                  CLERK
                                             AUGUSTA DIVISION




              UNITED STATES OF AMERICA


                             V.                               Grim. No.      1:06CR00155-1


                      Clarence Jackson



       On October 24, 2014, the above named was placed on supervised release for a period of five years. He
has complied with the rules and regulations of probation and is no longer in need of supervision. It is
accordingly recommended that he be discharged from supervision.

                                                            Respectfully submitted,



                                                            Lori H. Mil
                                                            United States Probation Officer



                                           ORDER OF THE COURT


       Pursuant to the above report, it is ordered that the defendant is discharged from supervision and that the
proceedings in the case be terminated.

         Dated this          'day of March, 2018.



                                                          Dudley H. Bowei^r.
                                                          United States District Judge
